Case 1:18-cv-00993-LTS-SLC Document557_ Filed 04/04/25 Pagelof1

UNITED STATES DISTRICT Court.

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SOUTHERN DISTRICT OF NEW YORK ene
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{Daas ¢
(List the full name(s) ofthe plaintiff(s)/petitioner{s).) [ & CV Qo q ay (ire 19

-against-

NOTICE OF APPEAL
Estate Nickioag le Sons a Ac. Nu Novacat, ase ane
Wort 2: at Cds rakcon OH). Vea

{List the full name(s} of the defenda nt{s}/respondentt(s).)

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Notice is hereby given that the following parties: Whaw\ane \ eA OM boll,

(list the names of all parties who are filing an appeal)

in the above-named case appeal to the United States Court of Appeals for the Second Circuit

from the Yoiudement Prraer entered on: Morel ry D Q5

(date that judgment or order was entered on docket}

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{if the appeal is from an order, provide a brief description above of the tislon j in the order.)
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Dv pn A 2025 . :

Dated signature

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Name (Last, First, MI}

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“Each party filing the appeal must date and sign the Notice of Appeal and provide his or her mailing address-and telephone

number, EXCEPT that a signer of a pro se notice of appeal may sign for his or her spouse and minor children if they are parties
to the case, Fed. R. App. P. 3fc}{?}. Attach additional sheets of paper as necessary,

Rev. 12/23/13
